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                     United States Court of Appeals
                                      For the First Circuit

      No. 23-1839
                                             UNITED STATES,

                                                  Appellee,

                                                      v.

                                     IAN FREEMAN, f/k/a Ian Bernard,

                                           Defendant - Appellant.


                                           ORDER OF COURT

                                            Entered: June 7, 2024
                                        Pursuant to 1st Cir. R. 27.0(d)


              Upon consideration of motion, it is ordered that the time for Appellant Ian Freeman to file
      a brief and appendix be enlarged to and including July 3, 2024. No further extension of this
      deadline should be sought absent compelling reasons.


                                                    By the Court:

                                                    Maria R. Hamilton, Clerk


      cc:
      Richard C. Guerriero Jr.
      John J. Kennedy
      David M. Lieberman
      Georgiana MacDonald
      Michael T. McCormack
      Mark L. Sisti
